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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

ERIC VEILLEUX, )
)
Plaintiff, )
} Civil Action No.
Vv. } 3:16-cv-02116 (MPS)
)
PROGRESSIVE NORTHWESTERN )
INS. CO. ET AL., )
)
Defendant. ) February 22, 2017

AMENDED COMPLAINT

Count One — As against Progressive Northwestern Ins. Co., insurer of Central Auto & Tra nsport,
LLC

1. On and around September 8, 2006, Central Auto & Transport, LLC (hereinafter
“Central Auto”) was a limited-liability company with an office and principle place of business at
195 Maxim Road, Hartford, Connecticut, engaged in intra- and inter-state transport of property,
and was subject to the Federal Motor Carrier Safety Act, and Connecticut state motor carrier
regulations.

2. On September 8, 2006, Central Auto owned a certain 1988 Volvo Aero tractor,
CT Registration No. 37477A, VIN: AVLWDBIJH1JNG600000 (hereinafter “the tractor”), anda
detachable 1993 Landol trailer, CT Registration No. V66116, VIN: 1LH317WH5P1006606
(hereinafter “the trailer”), which were involved in the accident involving the Plaintiff as

hereafter described.
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3. On September 8, 2006, the aforesaid tractor and trailer, owned by Central Auto
and operated by Joseph Cunningham (hereinafter “Cunningham”) delivered an aerial lift to the
premises of GDS Contracting Corp. in Berlin, Connecticut, where, at the time, the Plaintiff Eric
Veilleux was employed.

4, In the course of unloading the aerial lift from the tractor, which involved the
operation of both the tractor and the trailer by Cunningham, the Plaintiff Eric Veilleux suffered
severe, serious, and permanent personal injuries while in the bucket of the aerial lift.

5. On or about September 3, 2008, the Plaintiff filed suit in Hartford Superior Court,
subsequently designated Docket No HHD-CV08-5022642-S, seeking recovery from Central Auto
and other Defendants for the severe, serious, and disabling injuries suffered by the Plaintiff in
the course of unloading the aerial lift, which injuries are more fully set forth in said complaint,
as amended.

6. On March 30, 2016, the Plaintiff, Eric Veilleux, entered into a stipulation with
Central Auto in the aforesaid lawsuit, upon which judgment entered on said date, wherein
Central Auto stipulated to liability for the injuries suffered by the Plaintiff as aforesaid, and to a
judgment in favor of the Plaintiff in the amount of Three Million Seven Hundred and Fifty
Thousand Dollars ($3,750,000), plus costs.

7. On September 8, 2006, Central Auto was insured for liability for the injuries
suffered by the Plaintiff on said date as described above, by Progressive Northwestern Ins. Co.,
under commercial auto insurance policy No. 03550179-0 for the policy period June 2, 2006
through June 2, 2007, for Seven Hundred and Fifty Thousand Dollars ($750,000), plus the cost

of defense.
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8. The aforesaid policy contained an endorsement for motor carrier policies of
insurance for public liability under section 29 and 30 the Federal Motor Carrier Act
(endorsement MC1622k), which also provided coverage for Central Auto in the same amount
for the accident and injuries suffered by the Plaintiff.

9. Defendant Progressive Northwestern Ins. Co. neglected and/or refused to
provide coverage to Central Auto for the aforesaid accident and injuries to the Plaintiff as
aforesaid.

10. The Defendant, Progressive Northwestern Ins. Co., had and has an obligation to
insure and defend Central Auto in the cause of action brought by the Plaintiff, as described in
Paragraph 5 hereof, under the policy described in paragraphs 7 and 8 hereof.

11,‘ The Plaintiff brings this action under C.G.S. section 38a-321 for the full amount of
coverage provided for in the aforesaid policy in the amount of Seven Hundred and Fifty
Thousand Dollars ($750,000).

Count Two ~ As against Progressive Northwestern Ins. Co., insurer of Central Auto & Transport,
LLC

1. Paragraphs 1 through 10 of Count One are hereby incorporated and made
paragraphs 1 through 10 of this, Count Two, as if fully set forth herein.

11. The Plaintiff brings this action based on the assignment of all rights of Central
Auto as against Progressive Northwestern Ins. Co., as referenced in the stipulation filed with the
Superior Court, Docket No HHD-CV08-5022642-S, under date of March 30, 2016, a copy of
which is attached hereto and made a part hereof, for the full amount of coverage provided for

in the aforesaid policy in the amount of Seven Hundred and Fifty Thousand Dollars ($750,000),
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plus attorneys’ fees and expenses, paid by Central Auto in defense of said prior suit by the
Plaintiff.

Count Three — As against Progressive Northwestern Ins. Co., insurer of Central Auto &
Transport, LLC

1. Paragraphs 1 through 10 of Count One are hereby incorporated and made
paragraphs 1 through 10 of this, Count Three, as if fully set forth herein.

11. The policy issued by this Defendant to Central Auto, as described in paragraphs 7
and 8 above, specifically provides that upon failure of this Defendant to pay any final judgment
recovered against Central Auto, the judgment creditor may maintain an action in any court of
competent jurisdiction against this Defendant to compel such payment.

12. The Plaintiff brings this action as the judgement creditor of Central Auto and/or
third-party beneficiary of the policy between this Defendant and Central Auto, seeking the full
amount of coverage provided for under the aforesaid policy in the amount of Seven Hundred
and Fifty Thousand Dollars ($750,000), plus attorneys’ fees and expenses, paid by Central Auto
in defense of said prior suit by the Plaintiff.

Count Four — As against Progressive Northwestern Ins. Co., insurer of Central Auto & Transport,
LLC

1. Paragraphs 1 through 10 of Count One are hereby incorporated and made
paragraphs 1 through 10 of this, Count Four, as if fully set forth herein.

11. In denying coverage to Central Auto, in the Plaintiff's prior lawsuit, this
Defendant acted in bad faith, and intentionally, willfully, and/or with reckless disregard and/or

in derogation of the rights of Central Auto and the Plaintiff under the above-referenced
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insurance policy, in that, in addition to denying coverage as to Central Auto as the owner of the
tractor and trailer, this Defendant denied coverage under the motor carrier endorsement,
which is considered a suretyship by the insurance carrier to protect the public, and in
derogation of the terms of and/or public policy behind the Federal Motor Carrier Safety Act,
and there was no colorable basis on which to deny coverage under said endorsement.

12. The Plaintiff seeks payment of the full amount of coverage provided for under
the above-referenced policy in the amount of Seven Hundred and Fifty Thousand Dollars
($750,000), attorneys’ fees and expenses paid by Central Auto in defense of the Plaintiff's prior
action described herein, and punitive damages.

Count Five — As against Progressive Northwestern Ins. Co., insurer of Central Rigging & Transfer,
LLC

1. On and about September 8, 2006, Central Rigging & Transfer, LLC (hereinafter
“Central Rigging”) was a limited liability company with an office and principal place of business
at 195 Maxim Road, Hartford, Connecticut, and was engaged in intra- and inter-state transport
of property, and was subject to the Federal Motor Carrier Safety Act, and Connecticut state
motor carrier regulations.

2. On September 8, 2006, a certain 1988 Volvo Aero tractor, CT Registration No.
37477A, VIN: AVIWDBJH1JN600000 (hereinafter “the tractor”), was registered with the
Connecticut Department of Motor Vehicles to Central Rigging.

3. On September 8, 2006, the tractor was emblazoned in large letters on the

driver’s side door with “Central Rigging — 860-246-7616, Hartford, CT.”
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A, On September 8, 2006, the aforesaid tractor, operated by Joseph Cunningham
(hereinafter “Cunningham” delivered an aerial lift to the premises of GDS Contracting Corp. in
Berlin, Connecticut, where, at the time, the Plaintiff Eric Veilleux was employed.

5S. In the course of unloading the aerial lift from the tractor, which involved the
operation of both the tractor and the trailer attached thereto by Cunningham, the Plaintiff Eric
Veilleux suffered severe, serious, and permanent personal injuries while in the bucket of the
aerial lift

6. On or about September 3, 2008, the Plaintiff filed suit in Hartford Superior Court,
subsequently designated Docket No HHD-CV08-5022642-S, seeking recovery from Central
Rigging for the severe, serious, and disabling injuries suffered by the Plaintiff in the course of
unloading the aerial lift, which injuries are more fully set forth in said complaint, as amended.

7. On March 30, 2016, the Plaintiff, Eric Veilleux, entered into a stipulation with
Central Rigging in the aforesaid lawsuit, upon which judgment entered on said date, wherein
Central Rigging stipulated to liability for the injuries suffered by the Plaintiff as aforesaid, and to
a judgment in favor of the Plaintiff in the amount of Three Million and Seven Hundred and Fifty
Thousand Dollars ($3,750,000), plus costs.

8. On September 8, 2006, Central Rigging was insured for liability for the injuries
suffered by the Plaintiff on said date, as described above, by Progressive Northwestern Ins. Co.,
under commercial auto insurance policy no. 08476058-1 for the policy period March 10, 2006
through March 10, 2007, in the amount of One Million Dollars ($1,000,000), plus the cost of

defense.

 
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9. Defendant Progressive Northwestern Ins. Co. neglected and/or refused to
provide coverage to Central Rigging for the accident and injury described above.

10. The Defendant, Progressive Northwestern Ins. Co., had and has an obligation to
insure and defend Central Rigging in the cause of action brought by the Plaintiff, as described in
Paragraph 6 hereof, under the policy described in paragraph 8 hereof.

11. =‘ The Plaintiff brings this action under C.G.S. section 38a-321 for the full amount of
coverage provided for in the aforesaid policy in the amount of One Million Dollars ($1,000,000).
Count Six — As against Progressive Northwestern Ins. Co., insurer of Central Rigging & Transfer,
LLC

1. Paragraphs 1 through 10 of Count Five are hereby incorporated and made
paragraphs 1 through 10 of this, Count Six, as if fully set forth herein.

11. The Plaintiff brings this action on the assignment of all rights of Central Rigging
as against Progressive Northwestern Ins. Co., as contained in the stipulation filed with the
Superior Court, Docket No HHD-CV08-5022642-S, under date of March 30, 2016, a copy of
which is attached hereto and made a part hereof, for the full amount of coverage provided for
in the aforesaid policy in the amount of One Million Dollars ($1,000,000), plus attorneys’ fees
and expenses, paid by Central Rigging in defense of said prior suit by the Plaintiff.

Count Seven ~ As against Progressive Northwestern Ins. Co., insurer of Central Rigging &
Transfer, LLC
1. Paragraphs 1 through 10 of Count Five are hereby incorporated and made

paragraphs 1 through 10 of this, Count Seven, as if fully set forth herein.

 
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11, In denying coverage to Central Rigging, in the Plaintiff's prior lawsuit, this
Defendant acted in bad faith, and intentionally, willfully, and/or with reckless disregard and/or
in derogation of the rights of Central Auto and the Plaintiff under the above-referenced
insurance policy, in that, in addition to denying coverage as to Central Rigging as the registrant
of the tractor, this Defendant denied coverage on the basis that: (a) there was no evidence that
the tractor was used in the business of Central Rigging, when the name “Central Rigging” is
painted on the side of the tractor, and the tractor is registered to Central Rigging: (b) that
Central Auto & Transport, LLC, and Central Rigging were essentially owned by the same
individual, Robert Greco, which is not a basis for denying coverage; and (c) that there was no
evidence that the tractor was hired, rented, or borrowed by Central Rigging from Central Auto.

12. ‘The Plaintiff seeks payment of the full amount of coverage provided under the
above referenced policy in the amount of One Million Dollars ($1,000,000), plus attorneys’ fees
and expenses, paid by Central Rigging in defense of said prior suit by the Plaintiff, and punitive
damages.

Count Eight — As against Nautilus Ins. Co., insurer of Central Rigging & Transfer, LLC

1. Paragraphs 1 through 7 of Count Five are hereby incorporated and made
paragraphs 1 through 7 of this, Count Eight, as if fully set forth herein.

8. On September 8, 2006, Central Rigging was insured for liability for the injuries
suffered by the Plaintiff on said date as described above, by Nautilus Ins. Co. under policy no.
BN547271, covering the period of June 23, 2006 to June 23, 2007, for Two Million Dollars

($2,000,000), plus the cost of defense.
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9. Defendant Nautilus Ins. Co. neglected and/or refused to provide coverage for
Central Rigging for the accident and injury described above.

10. The Defendant, Nautilus ins. Co., had and has an obligation to insure and defend
Central Rigging in the cause of action brought by the Plaintiff, as described in Paragraph 6
hereof, under the policy described in paragraph 8 hereof.

li. = The Plaintiff brings this action under C.G.S. section 38a-321 for the full amount of
coverage provided for under the aforesaid policy, in amount of Two Million Dollars
($2,000,000).

Count Nine ~ As against Nautilus Ins. Co., insurer of Central Rigging & Transfer, LLC

1. Paragraphs 1 through 10 of Count Eight are hereby incorporated and made
paragraphs 1 through 10 of this, Count Nine, as if fully set forth herein.

10. The Plaintiff brings this action on the assignment of all rights of Central Rigging
as against Nautilus Ins. Co., as contained in the stipulation filed with the Superior Court, Docket
No HHD-CV08-5022642-S, under date of March 30, 2016, a copy of which is attached hereto
and made a part hereof, for the full amount of coverage provided for in the aforesaid policy in
the amount of Two Million Dollars ($2,000,000), plus attorneys’ fees and expenses, paid by

Central Rigging in defense of said prior suit by the Plaintiff.
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WHEREFORE, the Plaintiff claims:

1. Compensatory damages in the form of the policy limits as described in the Complaint;
2. Attorney's fees and costs incurred by Central Auto & Transport and Central Rigging &
Transfer in defense of the previous action brought by the Plaintiff; and

3. Punitive Damages.

The Plaintiff

BY: /s/Stephen F. McEleney
Stephen F. McEleney
His Attorney
McEleney & McGrail, LLC
20 Church Street, Suite 1730
Hartford, CT 06103
sfmc@mceleneylaw.com
T: 860-249-1400
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

ERIC VEILLEUX,

Plaintiff,
Civil Action No.
3:16-cv-02116 {MPS)

PROGRESSIVE NORTHWESTERN
INS. CO. ET AL.,

Defendant. February 22, 2017

STATEMENT OF AMOUNT IN DEMAND

The amount in demand is in excess of FIFTEEN THOUSAND AND 00/100 DOLLARS

($15,000), exclusive of interest and costs.

The Plaintiff

BY: /s/Stephen F. McEleney
Stephen F. McEleney
His Attorney
McEleney & McGrail, LLC
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Hartford, CT 06103
sfmc@mceleneylaw.com
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F: 860-549-5865

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DOCKET NO.: HAD-CV08-5022642-S : SUPERIOR COURT

ERIC VEILLEUX, ET AL. : J.D. OF HARTFORD

VS. : AT HARTFORD

CENTRAL RIGGING & TRANSFER, :

LLC, ET AL. : MARCH 30, 2016
STIPULATED JUDGMENT

WHEREAS, Eric Veilleux,, is the plaintiff.

WHEREAS, Central Rigging & Transfer, LLC and Central Auto & Transport, LLC are
the remaining two defendants in this lawsuit which is currently pending in the Judicial District of
Hartford at Hartford; and

WHEREAS, plaintiff timely filed this cause of action seeking damages of Central
Rigging & Transfer, LLC and Central Auto & Transport, LLC and other defendants; and

WHEREAS, the plaintiff has resolved all claims against those other defendants named in
this action including Central Construction Services, LLC, Joseph Cunningham, United Rentals,
Inc. and United Rentals (North America), Inc.

WHEREAS, the plaintiff and these defendants, Central Rigging & Transfer, LLC and
Central Auto & Transport, LLC wish to resolve between them the litigation arising out of the

events alleged in the Complaint and Amended Compiaint and the facts asserted therein, upon the

 
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entry of a Judgment by this Court incorporating the terms of the agreement between these parties
as described in this Stipulated Judgment and further set forth below:

NOW, THEREFORE, in consideration of their mutual promises herein, the plaintiff and
defendants, Central Rigging & Transfer, LLC and Central Auto & Transport, LLC, have agreed
as follows:

I. The Plaintiff will make a motion for entry of a judgment of the Superior Court
incorporating the terms of this Stipulated Judgment. Said motion for judgment will not
be objected to by Central Rigging & Transfer, LLC and Central Auto & Transpot, LLC.

2. Said parties’ agreement to settle this litigation on the terms set forth in paragraphs 3
through 11 of this Stipulated Judgment is expressly conditioned on the Court’s approval
of the said motion for judgment and the eniry of the judgment of this Court incorporating
the terms of paragraphs 3 through 11 set forth below, which may be enforced fully
through the Court’s contempt powers and through other procedures set forth in the
Common Law, General Statutes and Connecticut Practice Book applicable to the
enforcement of judgments of the Superior Court of the State of Connecticut. [f the Court
fails or refuses for any reason to grant said motion or does not render a judgment
incorporating paragraphs 3 through 11 of this Stipulated Judgment, the plaintiff and

defendants, Central Rigging & Transfer, LLC and Central Auto & Transport, LLC, shall
Up

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retain all rights and remedies they have at law, including, without limitation, the
continuation of the instant action.

Central Rigging & Transfer, LLC and Central Auto & Transport, LLC hereby stipulate to
liability for the accident described in the Plaintiff's complaints and the damages suffered
by the Plaintiff as a result thereof,

The defendants, Central Rigging & Transfer, LLC and Central Auto & Transport, LLC,

hereby further stipulate that judgment may enter against them in the above captioned

patter in the amount of Three Million Seven Hundred and F ifty Thousand Dollars
¥3 IED, 008,
($3;7500,006), plus taxable costs, of which sum only Thirty-Five Thousand Dollars
($3 5,000) is payable directly by Defendants Central Rigging & Transfer, LLC and/or
Central Auto & Transport, LLC in full settlement of this litigation by the plaintiff against
Central Rigging & Transfer, LLC and Central Auto & Transport, LLC.
In order to induce the plaintiff to enter into this Stipulated Judgment, the defendants,
Central Rigging & Transfer, LLC and Central Auto & Transport, LLC, represent they
collectively have minimal assets, if any, taking into consideration all outstanding debts
and liabilities of these corporate entities except for contract and/or tort claims and rights

that they may have against their former insurance companies, Progressive Insurance

Company and its affilliates specifically including Progressive Northwestern Insurance

 
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Conmpany and their successors, agents and assigns (hereinafter “Progressive”) and
Nautilus Insurance Company (hereinafter “Nautilus”) relating to insurance contract
matters between such insurance carriers and Central Rigging & Transfer, LLC and/or
Central Auto & Transport, LLC.

. The defendants, Central Rigging & Transfer, LLC and Central Auto & Transport, LLC
hereby agree to assign any and all rights and claims they have against Progressive and/or
Nautilus resulting fron the denial of coverage, refusal to defend Central Rigging &
Transfer, LLC and Central Auto & Transport, LLC in the above captioned matter and
refusal to pay the judgment entered hereby which includes all statutory, tort, common law
and contract claims and rights that these Defendants have against Progressive and/or
Nautilus for ultimate satisfaction and payment of this Stipulated Judgment, or any portion
thereof may be had.

. The plaintiff, Eric Veilleux, provided the Court approves and enters this Stipulated
Judgment, agrees to pursue collection and satisfaction of this J udgment against Central
Rigging & Transfer, LLC and Central Auto & Transport, LLC solely through
enforcement and pursuance of the above described rights and claims and agrees not to
pursue Central Rigging & Transfer, LLC and/or Central Auto & Transport, LLC in any

form or forum for any and all claims arising out of the events alleged in Plaintiff's

 
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complaint and any amended complaints as well as any claims regarding the payment and
satisfaction of this Judgment, except said Defendants agree to pay to Plaintiff the sum of
Thirty Five Thousand ($35,000.00), without costs, upon entry of the Judgment, said
payment to be made within seven (7) days of entry of this Judgment.

8. Defendants, Central Rigging & Transfer, LLC and Central Auto & Transport, LLC
acknowledge by execution of this Stipulated Judgment the sufficiency of the process
served upon them in this action, the method by which said service was made, this Court’s
jurisdiction over them, and this Court’s jurisdiction over the subject matter of this action.
Defendants also waive any rights they may have under the statutes of the State of
Connecticut, the Connecticut Practice Book or otherwise to appeal from the entry ofa
judgment incorporating the terms of this Stipulated Judgment, to seek a stay of the
execution of any such judgment, to collaterally attack any such judgment, or to seek to
reopen any such judgment.

9. Defendants Central Rigging & Transfer, LLC and Central Auto & Transport, LLC further
stipulate and agree that through their agents and employees, they will cooperate with
plaintiff in the prosecution of any and all claims as described above against Progressive
and/or Nautilus by providing information and testimony as requested by the Plaintiff.

10. This agreement shall inure to the benefit of and be binding upon the parties hereto and

 
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their respective heirs, successors and assigns,

11. The parties agree and acknowledge that this Stipulated Judgment constitutes the entire
agreement between the parties regarding the subjects addressed herein. Each
acknowledges that the other has made no promises or representations other than those set
forth in this Stipulation,

PLANTIFF

 

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ae‘ Erié Veilleux :

  
  

 

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j.
STATE OF CONNECTICUT Bi

: 88: HARTFORD, CT

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May
COUNTY OF HARTFORD

On this 86 day of March, 2016, before me, the undersigned officer, personally
appeared ERIC VEILLEUX, executed the foregoing instrument as his free act and deed for the
purposes therein contained by signing his name.

  
 

In witness whereof I hereunto set my hand.

  

J / , iy 4 /
Uff /
Commissioner of the Superiér Court

Notary Public ~ a“

  

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DEFENDANT,
CENTRAL RIGGING & TRANSFER, LLC

Robert Greco
Its President

DEFENDANT,
CENTRAL AUTO & TRANSPORT, LLC

By: We: J he eC

Robert Greco
Tts President
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STATE OF CONNECTICUT

; > SS: HARTFORD, CT
COUNTY OF HARTFORD

On this . Zo" day of March, 2016, before me, the undersigned officer, personally
appeared ROBERT GRECO, on behalf of CENTRAL RIGGING & TRANSE ER, LLC, who
acknowledged himself to the be President of said CENTRAL RIGGING & TRANSFER, LLC,
executed the foregoing instrument as his free act and deed on behalf of CENTRAL RIGGING &

TRANSFER, LLC for the purposes therein contained by signing his name on behalf of defendant
CENTRAL RIGGING & TRANSFER, LLC.

In witness whereof I hereunto set my hand.

 

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STATE OF CONNECTICUT:

: SS: HARTFORD, CT
COUNTY OF HARTFORD

On this 38 ™ day of March, 2016, before me, the undersigned officer, personally
appeared ROBERT GRECO, on behalf of CENTRAL AUTO & TRANSPORT, LLC, who
acknowledged himself to the be President of said CENTRAL AUTO & TRANSPORT, LLC,
executed the foregoing instrument as his free act and deed on behalf of CENTRAL AUTO &
TRANSPORT, LLC for the purposes therein contained by signing his name on behalf of
defendant CENTRAL AUTO & TRANSPORT, LLC.

In witness whereof I hereunto set my hand.

 

 
